       Case 1:17-cv-00365-LY-AWA Document 194 Filed 09/28/18 Page 1 of 12



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 UMG RECORDINGS, INC., et al.,
                                                  §
         Plaintiffs,                              §
                                                  §
 vs.                                              §
                                                  §     Civil Action No. 1:17-cv-00365-LY
 GRANDE COMMUNICATIONS                            §
 NETWORKS LLC,                                    §
                                                  §
         Defendant.                               §
                                                  §
                                                  §
         PLAINTIFFS AND NON-PARTY RIGHTSCORP, INC.’S UNOPPOSED
          SUPPLEMENTAL MOTION FOR LEAVE TO FILE UNDER SEAL

                                       INTRODUCTION

        Pursuant to the Court’s September 21, 2018 Order [Dkt. 186], Plaintiffs and non-party

Rightscorp Inc. (“Rightscorp”) move the Court for leave to maintain under seal certain information

that Plaintiffs and Rightscorp previously marked as Confidential or Attorneys’ Eyes Only (“AEO”)

and that were attached as exhibits to the parties’ previously-filed motions. This motion is not a

wholesale request to keep large swaths of information under seal.           Instead, Plaintiffs and

Rightscorp have narrowly tailored this motion to information that is highly confidential and

proprietary, and the disclosure of which would cause Plaintiffs and Rightscorp competitive and

financial harm. Each of the Plaintiffs and Rightscorp is a submitting declaration in support of this

motion. See Declarations of Alasdair McMullan (on behalf of the Universal Music Group

Plaintiffs) (Exhibit A) (“McMullan Decl.”); Wade Leak (on behalf of the Sony Music

Entertainment Plaintiffs) (Exhibit B) (“Leak Decl.”); Steven Poltorak (on behalf of the Warner

Music Group Plaintiffs) (Exhibit C) (“Poltorak Decl.”); and Gregory Boswell (on behalf of

Rightscorp) (Exhibit D) (“Boswell Decl.”). The declarations provide detailed explanations about
      Case 1:17-cv-00365-LY-AWA Document 194 Filed 09/28/18 Page 2 of 12



the confidential and commercially sensitive nature of the documents and the need to maintain them

under seal. The specific documents that Plaintiffs and Rightscorp ask to keep sealed are identified

in Appendix 1 to this motion and are discussed in the declarations. These documents include

numerous confidential agreements that establish Plaintiffs’ ownership of the copyrighted

recordings at issue in this case, and expert reports that contain technical information relating to

Rightscorp’s system. As set forth below, the information meets the definition of Confidential –

Attorneys’ Eyes Only in the Protective Order. In the event that the Court disagrees with Plaintiffs’

and Rightcorp’s request with respect to any of the documents that are the subject of this motion,

however, Plaintiffs and Rightscorp respectfully request that they be allowed the opportunity to

consider withdrawing the documents and testimony from the docket rather than have them exposed

publicly.1

                                      LEGAL STANDARDS

       A.      Confidentiality

       This Court’s Stipulated Protective Order defines as “Confidential” the following

information:

       Information and documents that may be designated as Confidential Information
       include, but are not limited to, trade secrets, confidential or proprietary financial
       information, operational data, business plans, and competitive analyses, personnel
       files, personal information that is protected by law, and other sensitive information
       that, if not restricted as set forth in this order, may subject the producing or
       disclosing person to competitive or financial injury or potential legal liability to
       third parties.




1
  Most of the documents that Plaintiffs previously filed under seal were documents that Grande
marked as Confidential or AEO. Plaintiffs filed those documents under seal pursuant to the terms
of the Protective Order. Those documents are of course not the subject of this motion, which
relates only to Plaintiffs’ and Rightscorp’s documents and expert reports. In addition, mindful of
the Court’s directives regarding confidentiality, see Order at 2-3 [Dkt. 186], Plaintiffs are no longer
seeking to seal some of the documents that Plaintiffs previously marked as Confidential or AEO.

                                                  2
      Case 1:17-cv-00365-LY-AWA Document 194 Filed 09/28/18 Page 3 of 12



Stipulated Protective Order [Dkt. 41] ¶ 4. The Stipulated Protective Order defines “Attorneys’

Eyes Only” information as follows:

       Attorneys’ Eyes Only Information. The designation Attorneys’ Eyes Only
       Information shall be reserved for information that is believed to be unknown to the
       opposing party or parties, or any of the employees of a corporate party. For
       purposes of this order, so-designated information includes, but is not limited to,
       product formula information, design information, nonpublic financial information,
       pricing information, customer identification data, and certain study methodologies.

Id.

       B.      Sealing

       Rule 26(c)(1) provides that for good cause, the Court may issue an order “requiring that a

trade secret or other confidential research, development, or commercial information not be

revealed or be revealed only in a specified way[.]” Fed. R. Civ. P. 26(c)(1)(G). Furthermore,

while the Supreme Court has recognized a qualified right of the public to access judicial records,

“the right to inspect and copy judicial records is not absolute.” Nixon v. Warner Commc’ns, Inc.,

435 U.S. 589, 598 (1978). To determine whether to disclose or to seal a judicial record, the Court

must balance the public’s common law right of access against interests favoring non-disclosure.

See S.E.C. v. Van Waeyenberghe, 990 F.2d 845, 849 (5th Cir. 1993). “The law, however, gives

district courts broad latitude to grant protective orders to prevent disclosure of materials for many

types of information, including, but not limited to, trade secrets or other confidential research,

development, or commercial information.” Phillips ex rel. Estates of Byrd v. Gen. Motors Corp.,

307 F.3d 1206, 1211 (9th Cir. 2002).

       Accordingly, numerous courts have held that information can be filed under seal when

supported by evidentiary showings from the moving party as to (1) the confidential and proprietary

nature of business and financial information sought to be sealed, and (2) the injury the movant

would suffer from disclosure, notwithstanding the public’s common law right of access to judicial



                                                 3
      Case 1:17-cv-00365-LY-AWA Document 194 Filed 09/28/18 Page 4 of 12



records. See, e.g., Nicolosi Distrib., Inc. v. Finishmaster, Inc., No. 18-CV-03587-BLF, 2018 WL

3932554; Supernus Pharm., Inc. v. TWi Pharm., Inc., No. CV 15-0369 (RMB/JS), 2017 WL

3671522, at *2 (D.N.J. Aug. 24, 2017); Benedict v. Hewlett-Packard Co. No. 13-CV-00119-BLF,

2016 WL 3568922, at *3 (N.D. Cal. July 1, 2016); United States v. Approximately up to

$15,253,826 in Funds Contained in Thirteen Bank Accounts, 844 F. Supp. 2d 1218, 1220 (D. Utah

2012); Cardiac Pacemakers, Inc. v. Aspen II Holding Co., No. CIV 04-4048 DWF/FLN, 2006 WL

3079410, at *5 (D. Minn. Oct. 24, 2006).

                                           ARGUMENT

       As set forth below, Plaintiffs and Rightscorp have presented evidence and argument that

establishes that the documents that are the subject of this motion meet the Protective Order’s

definition of Confidential – Attorneys’ Eyes Only, and the documents should remain under seal.

       A.      Contracts And Related Documentation Between Plaintiffs And Other
               Counterparties (Such As Artists, Production Companies, And Foreign
               Affiliates Of Plaintiffs) Contain Commercially Sensitive Information Such As
               Pricing, Licensing And Other Terms That Are Confidential And Proprietary.

       Most of the documents that Plaintiffs request stay under seal are Plaintiffs’ contracts with

artists, contracts related to corporate transactions, and related documentation evidencing Plaintiffs’

ownership and/or control of the copyrighted recordings at issue in the case. McMullan Decl. ¶¶ 4,

6, 7, 10, 15, 16; Leak Decl. ¶¶ 3, 5, 8, 13; Poltorak Decl. ¶¶ 4, 6, 9, 10. “Courts regularly find that

litigants may file under seal contracts with third parties that contain proprietary and confidential

business information.” Finisar Corp., 2015 WL 3988132, at *5 (citing cases). See also Nicolosi

Distrib., Inc., 2018 WL 3932554, at *3.

       These contracts are “among the most highly confidential and competitively sensitive

documents” in Plaintiffs’ files. McMullan Decl. ¶ 8; Leak Decl. ¶ 6; Poltorak Decl. ¶ 7. As

explained in greater detail in the declarations, the contracts contain numerous sensitive financial



                                                  4
      Case 1:17-cv-00365-LY-AWA Document 194 Filed 09/28/18 Page 5 of 12



and business terms, including the amounts of advances and royalties to be paid, the way in which

royalties will be calculated, and marketing commitments, among other terms. The terms of these

agreements are proprietary, not available to the public, commercially sensitive, and/or subject to

express confidentiality obligations in agreements with third parties. McMullan Decl. ¶¶ 8, 9; Leak

Decl. ¶¶ 6, 7; Poltorak Decl. ¶¶ 7, 8. In fact, given the competitive sensitivity of the contracts, the

three Plaintiff groups (UMG, SME, and WMG) are vigilant about not sharing these contracts with

each other.

       The terms of artist agreements are intensely negotiated on a case by case basis, and the

terms of the agreements vary from one artist to the next. The disclosure of the artist contracts

would place Plaintiffs in a “severe competitive disadvantage and cause us financial harm in relation

to our competitors, who could try to use the information to their advantage in competing to sign

and retain artists.” McMullan Decl. ¶ 9; see also Leak Decl. ¶ 7; Poltorak Decl. ¶ 8. In addition,

such disclosure would jeopardize Plaintiffs’ relationships with artists, who are essential business

partners for record companies. McMullan Decl. ¶ 9; Leak Decl. ¶ 7; Poltorak Decl. ¶ 8. If

Plaintiffs’ artist agreements and the other agreements that are the subject of this motion were

disclosed, it would give counterparties unfair advantages in negotiating against Plaintiffs as to

licensing, pricing, and other important business terms, because it would give them insight into how

Plaintiffs structure and value their licensing. McMullan Decl. ¶¶ 9, 12, 18; Leak Decl. ¶¶ 7, 10,

14; Poltorak Decl. ¶¶ 8, 11.

       In addition to artist contracts, Plaintiffs are seeking to maintain under seal intercompany

licensing agreements and various merger & acquisition agreements they likewise filed to

demonstrate ownership and/or control of the copyrighted recordings at issue in the case. The

intercompany license agreements are highly confidential, and the disclosure of their terms would




                                                  5
      Case 1:17-cv-00365-LY-AWA Document 194 Filed 09/28/18 Page 6 of 12



allow Plaintiffs’ competitors, non-affiliated licensees, and artists, to assess how Plaintiffs

internally structure and value their internal licensing, and to use that information to their financial

advantage in their negotiations with the Plaintiffs. McMullan Decl. ¶ 12; Leak Decl. ¶ 10.

Plaintiffs maintain these agreements as strictly confidential in the ordinary course of business.

McMullan Decl. ¶ 13; Leak Decl. ¶ 11. Similarly, the public disclosure of the merger & acquisition

agreements would also cause harm to Plaintiffs, as it would reveal to competitors and

counterparties how the Plaintiffs and/or their contractual counterparties price and structure their

transactions. McMullan Decl. ¶ 18; Leak Decl. ¶ 14; Poltorak Decl. ¶ 11.

        Plaintiffs include confidentiality requirements in the contracts, do not disclose them to third

parties, and permit the disclosure of the contracts in litigation only where there is a protective order

in place. McMullan Decl. ¶¶ 8, 9, 13, 14, 17, 19; Leak Decl. ¶¶ 6, 7, 11, 12, 15; Poltorak Decl. ¶¶

7, 8, 11, 12.

        Maintaining the artist, intercompany licensing, and mergers & acquisitions agreements

under seal will not interfere with public access to information that is at the heart of this case. The

documents provide evidentiary support for the necessary but routine exercise of establishing that

the record companies own or control the exclusive rights to the copyrighted sound recordings at

issue. The documents establish the chain of title for each copyrighted work. But the confidential

and proprietary information contained in the documents is not the fact of Plaintiffs’ exclusive

rights; rather, the confidential and proprietary information in the documents relates to issues such

as the financial and other contractual terms of contracts between Plaintiffs and artists, which

happen to be contained in the chain of title documents. Such information is tangential, if not

entirely irrelevant, to the core issue in this case about whether Grande and its subscribers infringed

Plaintiffs’ copyrighted works.




                                                   6
      Case 1:17-cv-00365-LY-AWA Document 194 Filed 09/28/18 Page 7 of 12



        Moreover, Plaintiffs anticipate that the issue of their ownership or control of the

copyrighted recordings will be resolved pre-trial, either through motions practice or stipulations.

That approach is standard practice in many infringement cases, as it avoids the need for lengthy

testimony about the chain of title for each of hundreds (in this case, 1,583) of copyrighted works.

Assuming that efficient practice is followed in this case, there will be no need to introduce the

confidential and proprietary information in open court, and maintaining the documents under seal

will not interfere with the public conduct of the trial.

        B.      Technical Information Relating To Rightscorp’s System Reflects Trade Secret
                And Other Confidential Information Warranting Sealing.

        Rightscorp asks the Court to maintain under seal certain of Rightscorp’s trade secret and

other confidential information. Software code is recognized as confidential technical information

that justifies being kept under seal in litigation. See, e.g., Karl Storz Endoscopy-Am., Inc. v. Stryker

Corp., No. 14-CV-00876-RS (JSC), 2016 WL 3129215, at *16 (N.D. Cal. June 2, 2016). The

expert report and rebuttal expert report of Barbara Frederiksen-Cross, and the expert report of

Geoff Cohen, contain specific details concerning the software code and operation of Rightscorp’s

system for detecting online infringement of sound recordings through the use of the BitTorrent file

sharing protocol. These details reflect trade secrets and highly confidential information. Boswell

Decl. ¶ 4. Rightscorp does not reveal this information publicly, but rather takes steps to protect

the information through confidentiality agreements, designating the information as confidential

and proprietary, and ensuring that business counterparts and employees do not disclose or misuse

the information. Id. ¶ 5. Rightscorp is particularly careful to protect its software code itself, as

evident by the very deliberate and exacting confidentiality measures it insisted upon when making

the code available for inspection by the parties’ experts in this case. Id. ¶ 6.




                                                   7
      Case 1:17-cv-00365-LY-AWA Document 194 Filed 09/28/18 Page 8 of 12



       If this information were revealed publicly, Rightscorp would face the prospect of serious

competitive or financial harm. Id. ¶ 7. Competitors would be able to use the information to

improve their own competing software systems. Id. Internet service providers and users of

BitTorrent would be able to use the information to attempt to thwart or circumvent Rightscorp’s

infringement monitoring capabilities. Id. Accordingly, the Frederiksen-Cross and Cohen expert

reports appropriately are marked as Confidential – Attorneys’ Eyes Only.

       The technical details of the Rightscorp system warrant sealing. That system’s operation is

described in general terms in the parties’ publicly-filed pleadings as well as in the declarations of

Rightscorp personnel.    Therefore, the public has sufficient access to information about the

Rightscorp system to satisfy the general public policy interest in making available records of

judicial proceedings. But the public has no legitimate need to have access to the more detailed—

and highly confidential and proprietary—aspects of Rightscorp’s systems referenced in the expert

reports of Frederiksen-Cross and Cohen. Plaintiffs do not anticipate that the Rightscorp witnesses,

or Frederiksen-Cross, will testify as to such details during trial, and submit that there is no

legitimate need for Grande’s expert to do so either. Thus, sealing the specific technical details of

the Rightscorp system will not impede the conduct of the trial.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs and Rightscorp respectfully request that the Court

maintain under seal the previously-filed exhibits identified in Appendix 1 to this motion and

addressed in the supporting declarations attached hereto. In the event that the Court decides not

to seal any of these exhibits, Plaintiffs and Rightscorp respectfully request the opportunity to

withdraw any such exhibits prior to the Court’s unsealing the exhibits.




                                                 8
     Case 1:17-cv-00365-LY-AWA Document 194 Filed 09/28/18 Page 9 of 12



Dated: September 28, 2018

                                             Respectfully submitted,

                                             By: /s/ Robert B. Gilmore

                                             Pat A. Cipollone, P.C. (admitted pro hac vice)
                                             Jonathan E. Missner (admitted pro hac vice)
                                             Robert B. Gilmore (admitted pro hac vice)
                                             Philip J. O’Beirne (admitted pro hac vice)
                                             Michael A. Petrino (admitted pro hac vice)
                                             Stein Mitchell Cipollone Beato &
                                                Missner LLP
                                             901 15th Street, N.W., Suite 700
                                             Washington, DC 20005
                                             Telephone: (202) 737-7777
                                             Facsimile: (202) 296-8312
                                             pcipollone@steinmitchell.com
                                             jmissner@steinmitchell.com
                                             rgilmore@steinmitchell.com
                                             pobeirne@steinmitchell.com
                                             mpetrino@steinmitchell.com

                                             Daniel C. Bitting (State Bar No. 02362480)
                                             Paige A. Amstutz (State Bar No. 00796136)
                                             Scott Douglass & McConnico LLP
                                             303 Colorado Street, Suite 2400
                                             Austin, TX 78701
                                             Telephone: (512) 495-6300
                                             Facsimile: (512) 495-6399
                                             dbitting@scottdoug.com
                                             pamstutz@scottdoug.com

                                             Attorneys for Plaintiffs and Non-party Rightscorp

                             CERTIFICATE OF CONFERENCE

       I certify that counsel for Plaintiffs and Rightscorp, Robert Gilmore, conferred with counsel
for Grande regarding the foregoing Supplemental Motion to Seal Certain Exhibits. Grande’s
counsel confirmed that their client does not oppose the requested relief.


                                             By: /s/ Robert B. Gilmore
                                                 Robert B. Gilmore




                                                9
   Case 1:17-cv-00365-LY-AWA Document 194 Filed 09/28/18 Page 10 of 12




            APPENDIX 1: EXHIBITS THAT PLAINTIFFS REQUEST BE
                         MAINTAINED UNDER SEAL

Description                                      Dkt. No(s).
Expert Report of Barbara Frederiksen-Cross       130-1 (Sealed Document Ex. 1)
                                                 141-1 (Sealed Document Exhibit 1)
                                                 173-78 (Sealed Document Ex. H)
                                                 177-1 (Sealed Document)
Compilation of Plaintiffs’ Ownership Documents   158-2 (Sealed Document Ex. 5)
Compilation of Plaintiffs’ Ownership Documents   158-3 (Sealed Document Ex. 11)
Expert Report of Geoff Cohen                     144-4 (Sealed Document Ex. 8)
                                                 147-4 (Sealed Document Ex. 8
                                                         Cohen Declaration and Report)
                                                 177-2 (Sealed Document)
Exhibit 3 to A. McMullan Declaration             173-5 (Sealed Document Ex. A-3a)
                                                 173-6 (Sealed Document Ex. A-3a2)
                                                 173-7 (Sealed Document Ex. A-3b)
                                                 173-8 (Sealed Document Ex. A-3c)
                                                 173-9 (Sealed Document Ex. A-3d)
Exhibit 4 to A. McMullan Declaration             173-10 (Sealed Document Ex. A-4)
Exhibit 5 to A. McMullan Declaration             173-11 (Sealed Document Ex. A-5)
Exhibit 10 to A. McMullan Declaration            173-16 (Sealed Document Ex. A-10)
Exhibit 13 to A. McMullan Declaration            173-19 (Sealed Document Ex. A-13)
Exhibit 15 to A. McMullan Declaration            173-21 (Sealed Document Ex. A-15)
Exhibit 16 to A. McMullan Declaration            173-22 (Sealed Document Ex. A-16)
Exhibit 17 to A. McMullan Declaration            173-23 (Sealed Document Ex. A-17a)
                                                 173-24 (Sealed Document Ex. A-17b)
                                                 173-25 (Sealed Document Ex. A-17c)
                                                 173-26 (Sealed Document Ex. A-17d)
Exhibit 18 to A. McMullan Declaration            173-27 (Sealed Document Ex. A-18)
Exhibit 22 to A. McMullan Declaration            173-31 (Sealed Document Ex. A-22)
Exhibit 23 to A. McMullan Declaration            173-32 (Sealed Document Ex. A-23)
Exhibit 24 to A. McMullan Declaration            173-33 (Sealed Document Ex. A-24)
Exhibit 25 to A. McMullan Declaration            173-34 (Sealed Document Ex. A-25)
Exhibit 28 to A. McMullan Declaration            173-37 (Sealed Document Ex. A-28a)
                                                 173-38 (Sealed Document Ex. A-28b)
                                                 173-39 (Sealed Document Ex. A-28c)
                                                 173-40 (Sealed Document Ex. A-28d)
                                                 173-41 (Sealed Document Ex. A-28e)
                                                 173-42 (Sealed Document Ex. A-28f)
                                                 173-43 (Sealed Document Ex. A-28g)
Exhibit 29 to A. McMullan Declaration            173-44 (Sealed Document Ex. A-29)
Exhibit 5 to W. Leak Declaration                 173-53 (Sealed Document Ex. B5)
Exhibit 6 to W. Leak Declaration                 173-54 (Sealed Document Ex. B6)
   Case 1:17-cv-00365-LY-AWA Document 194 Filed 09/28/18 Page 11 of 12



Exhibit 7 to W. Leak Declaration                   173-55   (Sealed Document Ex. B7)
Exhibit 10 to W. Leak Declaration                  173-58   (Sealed Document Ex. B10)
Exhibit 11 to W. Leak Declaration                  173-59   (Sealed Document Ex. B11)
Exhibit 12 to W. Leak Declaration                  173-60   (Sealed Document Ex. B12)
Exhibit 13 to W. Leak Declaration                  173-61   (Sealed Document Ex. B13)
Exhibit 14 to W. Leak Declaration                  173-62   (Sealed Document Ex. B14)
Exhibit 15 to W. Leak Declaration                  173-63   (Sealed Document Ex. B15)
Exhibit 16 to W. Leak Declaration                  173-64   (Sealed Document Ex. B16)
Exhibit 17 to W. Leak Declaration                  173-65   (Sealed Document Ex. B17a)
Exhibit 17 to W. Leak Declaration                  173-66   (Sealed Document Ex. B17b)
Exhibit 20 to W. Leak Declaration                  173-69   (Sealed Document Ex. B20)
Exhibit 22 to W. Leak Declaration                  173-71   (Sealed Document Ex. B22)
Rebuttal Expert Report of Barbara                  177-3    (Sealed Document)
Frederiksen-Cross
Expert Report of Barbara Frederiksen-Cross (Cox)   177-4    (Sealed Document)
Exhibit 2 to S. Poltorak Declaration               180-3    (Sealed Document Ex. C-2)
Exhibit 3 to S. Poltorak Declaration               180-4    (Sealed Document Ex. C-3)
Exhibit 4 to S. Poltorak Declaration               180-5    (Sealed Document Ex. C-4)
Exhibit 6 to S. Poltorak Declaration               180-7    (Sealed Document Ex. C-6)
Exhibit 8 to S. Poltorak Declaration               180-9    (Sealed Document Ex. C-8)
Exhibit 9 to S. Poltorak Declaration               180-10   (Sealed Document Ex. C-9a)
                                                   180-11   (Sealed Document Ex. C-9b)
Exhibit 11 to S. Poltorak Declaration              180-13   (Sealed Document Ex. C-11)
Exhibit 12 to S. Poltorak Declaration              180-14   (Sealed Document Ex. C-12a)
                                                   180-15   (Sealed Document Ex. C-12b)
                                                   180-16   (Sealed Document Ex. C-12c)
Exhibit 13 to S. Poltorak Declaration              180-17   (Sealed Document Ex. C-13)
Exhibit 14 to S. Poltorak Declaration              180-18   (Sealed Document Ex. C-14)
Exhibit 15 to S. Poltorak Declaration              180-19   (Sealed Document Ex. C-15)
Exhibit 16 to S. Poltorak Declaration              180-20   (Sealed Document Ex. C-16)
Exhibit 17 to S. Poltorak Declaration              180-21   (Sealed Document Ex. C-17a)
                                                   180-22   (Sealed Document Ex. C-17b)
Exhibit 18 to S. Poltorak Declaration              180-23   (Sealed Document Ex. C-18)
Exhibit 21 to S. Poltorak Declaration              180-26   (Sealed Document Ex. C-21)
Exhibit 22 to S. Poltorak Declaration              180-27   (Sealed Document Ex. C-22)
Exhibit 23 to S. Poltorak Declaration              180-28   (Sealed Document Ex. C-23a)
                                                   180-29   (Sealed Document Ex. C-23b)
Exhibit 24 to S. Poltorak Declaration              180-30   (Sealed Document Ex. C-24)
Exhibit 25 to S. Poltorak Declaration              180-31   (Sealed Document Ex. C-25)
    Case 1:17-cv-00365-LY-AWA Document 194 Filed 09/28/18 Page 12 of 12




                              CERTIFICATE OF SERVICE

        The undersigned certifies that, on September 28, 2018, all counsel of record who are
deemed to have consented to electronic service are being served with a copy of this document
electronically.


                                          /s/ Daniel C. Bitting
                                          Daniel C. Bitting
